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                                        11
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                                        12                   IN THE UNITED STATES DISTRICT COURT
                                        13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                        14                                  WESTERN DIVISION
                                        15

                                        16 UNIFY FINANCIAL FEDERAL                  Case No.:
                                             CREDIT UNION,
                                        17
                                                               Plaintiff,           COMPLAINT FOR:
                                        18
                                                  v.                                 (1) FRAUDULENT INDUCEMENT
                                        19                                           (2) NEGLIGENT
                                                                                         MISREPRESENTATION
                                        20 TEMENOS USA, INC.,                        (3) CALIFORNIA UNFAIR
                                                                                         COMPETITION PURSUANT
                                        21                     Defendant.                TO CALIFORNIA’S BUSINESS
                                                                                         AND PROFESSIONS CODE
                                        22                                               § 17200
                                        23

                                        24

                                        25

                                        26                                      PARTIES
                                        27        Plaintiff UNIFY Financial Federal Credit Union (“UNIFY”) alleges as
                                        28 follows:


                                                                               COMPLAINT
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                                         1          1.   Defendant Temenos USA, Inc., (“Temenos”) is headquartered in Lake
                                         2 Mary, Florida, and incorporated in Delaware. Temenos touts itself as having the

                                         3 ability to combine “front to back” banking services and the most advanced cloud

                                         4 native technology. At all relevant times UNIFY dealt with Temenos, through

                                         5 Temenos representatives.

                                         6          2.   UNIFY’s primary address is in Torrance, California. UNIFY is a
                                         7 Federally chartered credit union.

                                         8
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                                        10          3.   Defendant is a corporation incorporated under the laws of Delaware,
                                        11 headquartered in Florida and with a principal place of business in Malvern

                                        12 Pennsylvania. Plaintiff is a federally chartered credit union with its principal place

                                        13 of business in Torrance, California. The amount in controversy exceeds $75,000,

                                        14 exclusive of fees and costs. Accordingly, this Court has diversity jurisdiction

                                        15 under 28 U.S.C. § 1332.

                                        16          4.   Defendant is subject to personal jurisdiction in this Judicial District,
                                        17 because it is registered to do business in California and directs business activities

                                        18 towards and conducts business with consumers within the State of California and

                                        19 this Judicial District.

                                        20

                                        21                            FACTUAL ALLEGATIONS
                                        22          5.   UNIFY was seeking to obtain and migrate updated software programs
                                        23 that would function in a cloud based platform, in early 2018. In order to

                                        24 accomplish this, UNIFY issued a Request for Information (“RFI”) in the Spring of

                                        25 2018. UNIFY solicited bids as part of its business plan to move entirely to the

                                        26 cloud. Accordingly, UNIFY only vetted those RFI responders that were cloud

                                        27 based.

                                        28

                                                                                    2
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                                         1        6.     Beginning in or around May 2018, UNIFY and Temenos entered into
                                         2 discussions to explore the licensing and use of Temenos Account Origination

                                         3 software (“AO”), Loan Origination software (“LO”), and Service Module software

                                         4 (“Service”). UNIFY was already using Temenos Collections software, pursuant to

                                         5 an existing agreement, but was seeking to move Collections to a hosted

                                         6 environment (collectively “the Software”). Specifically, Cary Shumway, from

                                         7 UNIFY, had negotiations with Temenos representatives, Geoffrey Nelsen

                                         8 (“Nelsen”), Eric Snyder (“Snyder”) and Larry Edgar-Smith (“Edgar-Smith”). The
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                                         9 negotiations included the Software acquisitions and migration to a cloud based
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                                        10 environment as a singular negotiation. The two aspects of the negotiations were an

                                        11 integral part of UNIFY’s plan.

                                        12        7.     As part of the negotiations, UNIFY disclosed the significant time
                                        13 constraints that accompanied its move to an entirely cloud based environment.

                                        14 UNIFY’s time line was important because existing software licensing was

                                        15 scheduled to expire and would not be supported. Thus, it was necessary to resolve

                                        16 all migration issues, in a timely manner, since the Software would be sharing the

                                        17 same cloud platform and changes to one software would necessarily affect the

                                        18 others.

                                        19        8.     During these negotiations, Nelsen, Snyder and Edgar-Smith
                                        20 represented that Temenos “lived in the cloud and that it had customers that lived in

                                        21 the cloud.” Temenos represented that, based on its experience with other

                                        22 customers it knew it was able to host and implement, on a stable, error free

                                        23 platform, the Software plaintiff sought to license from Temenos.

                                        24        9.     Temenos did not disclose that it did not have experience hosting AO,
                                        25 LO, Services and Collections, for a single client, and therefore, did not have any

                                        26 reliable data that it could actually support these functions for a single client. In

                                        27 fact, when Temenos was touting its expertise to UNIFY, in order to induce UNIFY

                                        28 to enter into the Agreements, it had no other customers, utilizing more than one

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                                                                                COMPLAINT
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                                         1 software application, live in the cloud. Because it did not have the experience it

                                         2 represented to have, it was unable to anticipate the issues that might arise when

                                         3 multiple software applications were running on the Temenos hosted cloud

                                         4 environment. When multiple issues did arise, because Temenos had no prior

                                         5 experience, it had no explanation for what caused the problem or a solution to

                                         6 remedy the issue. As a result, Temenos was unable facilitate UNIFY’s successful

                                         7 migration to the cloud.

                                         8        10.    Temenos intentionally mislead UNIFY to believe that it had tested
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                                         9 and had a reliable hosting solution for all its products. UNIFY relied on the
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                                        10 representations made by Defendant, including Defendant representatives Nelson,

                                        11 Snyder and Edgar-Smith, that Temenos was a specialist in the cloud-based field of

                                        12 banking and finance software. Specifically UNIFY relied on the representations

                                        13 that Temenos was able to provide stable, reliable software and host it on a

                                        14 Temenos cloud platform. The Defendant’s representations that it “lived in the

                                        15 cloud” and could support UNIFY’s needs was the primary factor that informed

                                        16 UNIFY’s decision to proceed with Temenos.

                                        17        11.    At no point did Temenos, including Nelsen, Snyder or Edgar-Smith,
                                        18 disclose to UNIFY that it did not “live in the cloud,” that in fact it had no

                                        19 customers that had multiple software systems in the Temenos hosted cloud

                                        20 environment; and, that it had never successfully offered the services it represented

                                        21 it could provide. The representations were false. Temenos had no idea whether it

                                        22 was able to host the software on its cloud platform and in the time frame that

                                        23 UNIFY required.

                                        24        12.    Based on the misrepresentations of Nelsen, Snyder and Edgar-Smith
                                        25 on behalf of Temenos, UNIFY agreed to the negotiated plan by entering into a

                                        26 Master Software and Services Agreement for the Software in September 2018, and

                                        27 into a hosting agreement in March 2019, with the Temenos cloud host,

                                        28 (collectively the “Agreements”). If Temenos had not misrepresented its

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                                         1 experience, or disclosed that Temenos had that it had no experience hosting AO,

                                         2 LO, Services and Collections for a single client, UNIFY would not have entered

                                         3 into the Agreements with Temenos.

                                         4        13.   Based on the representations made by Temenos, and in order to move
                                         5 its business to the cloud, UNIFY migrated its Collections processing from on-

                                         6 premises to the cloud in May 2019. This migration was necessary so that there

                                         7 could be full vertical integration and Project kick-off could occur in June 2019,

                                         8 with the goal of going live in March 2020.
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                                         9        14.   The original agreed upon deadlines were pushed back as the parties
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                                        10 dealt with COVID issues. The project was back at full speed in July of 2020. In

                                        11 August 2020, the parties negotiated a new “go live date” of October 16, 2020, with

                                        12 an agreement that all mock conversions and other implementation issues be

                                        13 resolved prior to the “go live date.” The mock conversion was plagued with

                                        14 problems.

                                        15        15.   Connection issues with the Software on the hosting platform were
                                        16 identified early in the conversion process. In September, 2020, Kevin Bingham, a

                                        17 UNIFY consultant and project manager, informed the Temenos implementation

                                        18 team, including Michael Ruggerio, Daryn Hoke and Morgan Kennedy about the

                                        19 serious issues which were in danger of impacting the required UNIFY timeline.

                                        20        16.   UNIFY learned that Temenos had no other customers with multiple
                                        21 software applications live in the cloud and that Temenos had misrepresented its

                                        22 experience in order to induce UNIFY to enter into the Agreements with UNIFY. If

                                        23 UNIFY had the experience it represented it had, most of the issues plaguing the

                                        24 Temenos migration and conversion would have been avoided.

                                        25        17.   In light of the issues presented UNIFY agreed to a roll out of the “go
                                        26 live” dates. It was agreed that Collections would go live on November 9, 2020 and

                                        27 AO, LO and Service would go live on November 12, 2020. It was important

                                        28 Collections go first because there was no back-up plan for Collections. UNIFY

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                                         1 had to ensure Collections was up and running before AO, LO and Service could be

                                         2 moved to the platform. This never occurred. Collections attempted to launch as

                                         3 scheduled, but configurations were missing causing it to go down for two days.

                                         4        18.    This was just the start of the issues that plagued the attempt to go live.
                                         5 There were serious issues with the Temenos hosting environment that caused

                                         6 unstable software performance seriously affecting the ability to service the needs

                                         7 of UNIFY and its customers. One of the many problems involved the delay

                                         8 between a user command and the system response, this delay made the platform
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                                         9 unreliable.
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                                        10        19.    UNIFY withheld payments due to Temenos for the software and
                                        11 hosting platform when UNIFY began to fear that, despite Temenos’

                                        12 representations that it was experienced in hosting multiple software systems in is

                                        13 cloud platform, that it lacked experience and was not able to accomplish what it

                                        14 had promised,

                                        15        20.    When the LO software was launched, there was an issue with the
                                        16 mingling of loan applicants’ information. One applicant’s information would

                                        17 appear on another applicant’s form and vice versa. It was never clear whether this

                                        18 was an error in information retrieval, an error in the unique identifier or something

                                        19 else. In addition, other applications were randomly duplicated in the system or

                                        20 simply lost. Temenos could not explain the reason for the issues or provide any

                                        21 reassurance that the issues would not reoccur.

                                        22        21.    Temenos attempted to apply a “hot fix,” to address this issue, but it
                                        23 was never able to identify the cause of the issue. “Hot fixes” are used as an urgent

                                        24 measure against software issues that need to be fixed immediately, so that the issue

                                        25 does not cause system outages. It is important, however to identify the cause of the

                                        26 issue to avoid additional problems.

                                        27        22.    The many issues that plagued the migration to the cloud were not
                                        28 issues that could have been detected until the project went live in November 2020.

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                                         1 If Temenos actually “lived in the cloud” as it represented, it would have known

                                         2 that its platform was unstable and could not support the needs of UNIFY and its

                                         3 customers.

                                         4        23.    UNIFY continued to discuss the problems with the Temenos Software
                                         5 and hosting platform with the Temenos management team. Specifically, Cary

                                         6 Shumway of UNIFY worked with the Temenos project team, including Daryn

                                         7 Hoke, Mike Ruggiero, Melissa Bachman and David Miller to address the issues

                                         8 plaguing the project launch and looming UNIFY deadlines.
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                                         9        24.    The Temenos management team repeatedly issued “hot fixes” in an
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                                        10 attempt to address the problems, suggesting that they would in fact be able to get

                                        11 UNIFY in the cloud and that its cloud environment worked. The Temenos

                                        12 management team was, however, never able to identify the issues with its hosting

                                        13 platforms and they were never able to get UNIFY in the cloud because, its hosting

                                        14 environment did not work in a stable, error-free environment.

                                        15        25.    Each “hot fix” required UNIFY to repeat the testing process at
                                        16 considerable expense to UNIFY. The issues that arose only came up in a live

                                        17 environment and could not be identified until UNIFY went live.

                                        18        26.    If Temenos in fact “lived in the cloud” as it represented when it
                                        19 induced UNIFY to enter into the Agreements, it would have known that it was

                                        20 unable to provide a reliable, stable cloud platform. In part, the cloud platform was

                                        21 unstable because there was no defined closure to the collection calls. As a result,

                                        22 the port was over loaded causing pages to fail to load as well as other latency

                                        23 problems.

                                        24        27.    Throughout December 2020, UNIFY continued to meet with Temenos
                                        25 as the Temenos implementation team attempted to resolve the problems that

                                        26 thwarted UNIFY’s successful conversion to a cloud platform. Despite the efforts

                                        27 of the parties, the Temenos system performance continued to deteriorate.

                                        28

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                                         1         28.   In order to induce UNIFY to enter into the Agreements, Temenos
                                         2 represented that it would repair and or re-preform the services within five days of

                                         3 Notice. This did not happen. Despite repeated attempts to repair the defects,

                                         4 Temenos was unable to deliver the Software and hosting services that it promised,

                                         5 in order to induce UNIFY to enter into the Agreement.

                                         6         29.   A final stability date of January 4, 2021, was set for Temenos.
                                         7 Temenos failed to meet that deadline. The performance of AO, LO and

                                         8 Collections in the hosted environment was so poor, implementation of Service was
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                                         9 never commenced.
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                                        10         30.   Because of Temenos’ inability to provide a stable cloud platform
                                        11 UNIFY informed Temenos that it would have to move Collections from the cloud,

                                        12 back to an on-premise solution. UNIFY migrated Collections back to an on-

                                        13 premise solution on January 27, 2021.

                                        14         31.   If Temenos had disclosed that it did not have the experience and
                                        15 capacity to host the Software, UNIFY would not have entered into the Agreements.

                                        16 Similarly, UNIFY would not have entered into the Agreements if it knew that

                                        17 Temenos did not have the experience and expertise to repair defects in the cloud

                                        18 hosting environment.

                                        19                                        COUNT I
                                        20                           FRAUDULENT INDUCEMENT
                                        21         32.   Plaintiff re-alleges and incorporates by reference the allegations of the
                                        22 foregoing paragraphs of the Complaint as though set forth herein in full.

                                        23         33.   Defendant made numerous material representations and promises to
                                        24 Plaintiff regarding its ability to host its Software in the cloud, including the fact

                                        25 that Defendant “lived in the cloud” and hosted other customers on its cloud based

                                        26 platform.

                                        27         34.   Defendant concealed from Plaintiff material facts including, its lack of
                                        28 experience hosting multiple software programs in its cloud hosting environment

                                                                                     8
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                                         1 and in fact Temenos had no idea whether the Software it provided to Plaintiff

                                         2 would be able to interact with each other in its hosted cloud platform. It also

                                         3 concealed that it was unable to identify and address defects in its hosted cloud

                                         4 platform. As a result, Defendant could not deliver a product that would serve the

                                         5 needs of UNIFY and its customers. Defendant had exclusive knowledge of those

                                         6 facts and had a duty to disclose and not to actively conceal its ability to provide

                                         7 Plaintiff with Software that could function in a stable, error-free cloud platform for

                                         8 the Software.
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                                         9        35.    Defendant knew each of its representations and promises were false at
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                                        10 the time they were made, or were made recklessly without regard for the truth and

                                        11 were made without knowing whether Temenos could provide the services and

                                        12 platform it promised. Nonetheless, Defendant made each representation and

                                        13 promise in an effort to induce Plaintiff enter into the Agreements.

                                        14        36.    Defendant intended that Plaintiff rely on each representation in
                                        15 making its decision whether or not to enter into the Agreements with Defendant.

                                        16        37.    Plaintiff reasonably relied upon each of Defendant’s representations,
                                        17 and Plaintiff was unaware of facts concealed from it in making its decision whether

                                        18 or not to enter into the Agreements with Defendant. Had Plaintiff known the facts

                                        19 concealed from it by Defendant or the falsity of Defendant’s representations,

                                        20 Plaintiff would not have entered into the Agreements with Defendant.

                                        21        38.    Plaintiff was harmed by Defendant’s representations and concealment,
                                        22 which was a substantial factor in causing the harm.

                                        23        39.    As a result, Plaintiff has suffered damages, according to proof at trial.
                                        24        WHEREFORE, Plaintiff prays for judgment and relief, including
                                        25 exemplary damages, as set forth more fully below.

                                        26                                       COUNT II
                                        27                       NEGLIGENT MISREPRESENTATION
                                        28        40.    Plaintiff re-alleges and incorporates herein by reference the

                                                                                    9
                                                                                COMPLAINT
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                                          1 allegations of the foregoing paragraphs of the Complaint, as though set forth herein

                                          2 in full.

                                          3        41.    Defendant made numerous material representations and promises to
                                          4 Plaintiff regarding its ability to host its Software in the cloud, including the fact

                                          5 that Defendant “lived in the cloud” and hosted other customers on its cloud based

                                          6 platform.

                                          7        42.    Defendant concealed from Plaintiff material facts including, its lack of
                                          8 experience hosting multiple software programs in its cloud hosting environment
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                                          9 and in fact Temenos had no idea whether the Software it provided to Plaintiff
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                                         10 would be able to interact with each other in its hosted cloud platform. It also

                                         11 concealed that it was unable to identify and correct defects that occurred in it

                                         12 hosted cloud platform. As a result, Defendant could not deliver a product that

                                         13 would serve the needs of UNIFY and its customers.

                                         14        43.    Defendant had exclusive knowledge of those facts and had a duty to
                                         15 disclose and not to actively conceal its ability to provide Plaintiff with Software

                                         16 that functioned in a stable, error-free cloud platform for the Software.

                                         17        44.    Defendant knew each of its representations and promises were false at
                                         18 the time they were made, or were made recklessly without regard for the truth and

                                         19 were made without knowing whether Temenos could provide the platform as

                                         20 promised. Nonetheless, Defendant made each representation and promise in an

                                         21 effort to induce Plaintiff to enter into the Agreements.

                                         22        45.    Defendant intended that Plaintiff rely on each representation in
                                         23 making its decision whether or not to enter into the Agreements with Defendant.

                                         24        46.    Plaintiff reasonably relied upon each of Defendant’s representations,
                                         25 and Plaintiff was unaware of facts concealed from it in making its decision whether

                                         26 or not to enter into the Agreements with Defendant. Had Plaintiff known the facts

                                         27 concealed from it by Defendant or the falsity of Defendant’s representations,

                                         28 Plaintiff would not have entered into the Agreements with Defendant.

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                                          1        47.    Plaintiff was harmed by Defendant’s representations and concealment,
                                          2 which were substantial factors in causing the harm.

                                          3        48.    As a result, Plaintiff has suffered damages, according to proof at trial.
                                          4        WHEREFORE, Plaintiff prays for judgment and relief, including
                                          5 exemplary damages, as set forth more fully below.

                                          6                                      COUNT III
                                          7              CALIFORNIA UNFAIR COMPETITION PURSUANT TO
                                          8        CALIFORNIA’S BUSINESS AND PROFESSIONS CODE § 17200
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                                          9        49.    Plaintiff re-alleges and incorporates herein by reference the
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                                         10 allegations of the foregoing paragraphs of the Complaint as though set forth herein

                                         11 in full.

                                         12        50.    The UCL defines “unfair business competition” to include any
                                         13 “unlawful, unfair or fraudulent” act or practice, as well as any “unfair, deceptive,

                                         14 untrue or misleading advertising. Cal. Bus. Prof. Code § 17200.

                                         15        51.    The UCL imposes strict liability. Plaintiff need not prove that
                                         16 Temenos intentionally or negligently engaged in unlawful, unfair, or fraudulent

                                         17 business – only that such practices occurred.

                                         18        52.    A business act or practice is “unfair” under the UCL if it offends an
                                         19 established public policy or is immoral, unethical, oppressive, unscrupulous or

                                         20 substantially injurious to consumers. That unfairness is determined by weighing

                                         21 the reasons, justifications and motives of the practice against the gravity of the

                                         22 harm to the victims.

                                         23        53.    Temenos’ actions constitute “unfair” business practices because, as
                                         24 alleged above, Temenos represented that it had the ability to host its Software in

                                         25 the cloud, including that Temenos “lived in the cloud” and hosted other customers

                                         26 on its cloud-based platform. Temenos concealed the fact that it had no idea

                                         27 whether its Software would be able to interact with each other in its hosted cloud

                                         28 environment. It also misrepresented and concealed its ability to identify and

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                                                                                 COMPLAINT
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                                          1 address defects in its hosted cloud platform. Temenos’ acts and practices offended

                                          2 an established public policy of transparency and it engaged in immoral, unethical,

                                          3 oppressive, and unscrupulous activity that was injurious to UNIFY.

                                          4        54.    The harm to UNIFY outweighs the utility of Temenos’ practices.
                                          5 There were reasonably available alternatives to further Temenos’ legitimate

                                          6 business interests other than the misleading and deceptive conduct described

                                          7 herein.

                                          8        55.    A business act or practice is “fraudulent” under the UCL if it is likely
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                                          9 to deceive members of the consuming public.
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                                         10        56.    Temenos’ acts and practices alleged herein constitute fraudulent
                                         11 business acts or practices as they have deceived UNIFY. Plaintiff relied on

                                         12 Temenos’ fraudulent and deceptive representations regarding its ability to host it

                                         13 Software in the cloud and its ability to identify and address problems in its hosted

                                         14 cloud platform. These misrepresentations played a substantial role in Plaintiff’s

                                         15 decision to enter into the Agreements and Plaintiff would not have entered into

                                         16 these Agreements without Temenos’ misrepresentations.

                                         17        57.    Temenos’ acts and practices alleged above constitute unlawful
                                         18 business practices as they have violated the common law and federal law. The

                                         19 Federal Trade Commission’s Act (“FTCA”) prohibits “unfair or deceptive acts or

                                         20 practices in or affecting commerce” (15 U.S.C. § 45(a)(1)).

                                         21        58.    The violation of any law constitutes an “unlawful” business practice
                                         22 under the UCL.

                                         23        59.    As detailed herein, the acts and practices Alleged were intended to or
                                         24 did result in violations of common law and violations of the FTCA.

                                         25        60.    In violation of California’s statutory prohibitions against unlawful and
                                         26 fraudulent business practices, Defendant induced Plaintiff to enter into the

                                         27 Agreements for the Software and for migrating and implementing the Software on

                                         28 its cloud based platform, knowing that it did not have the experience or expertise to

                                                                                    12
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                                          1 assure that it could provide a stable, error free hosting environment in order to

                                          2 meet Plaintiff’s time frame. Defendant’s representations and omissions were a

                                          3 substantial factor in Plaintiff’s decision to enter into the Agreements.

                                          4         61.    Pursuant to the UCL, UNIFY is entitled to preliminary and permanent
                                          5 injunctive relief and order Temenos to cease its unfair competition as well as

                                          6 disgorgement and restitution to Plaintiff of all Temenos revenue associated with its

                                          7 unfair competition.

                                          8         WHEREFORE, Plaintiff prays for judgment and relief as set forth more
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                                          9 fully below.
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                                         10

                                         11                                    PRAYER FOR RELIEF
                                         12         WHEREFORE, Plaintiff demands judgment on all Counts of this
                                         13 Complaint and an award of equitable relief and monetary relief against Defendant

                                         14 as follows:

                                         15                a. restitution in an amount to be determined at trial
                                         16                b. compensatory damages general and/or special, directly and
                                         17 proximately resulting from Defendant’s wrongful acts, in an amount to be

                                         18 determined at trial;

                                         19                c. exemplary damages against Defendants in an amount to be
                                         20 determined at trial;

                                         21                d. waiver of all outstanding amounts believed due from UNIFY,
                                         22 including but not limited to licensing fees;

                                         23                e. costs of suit;
                                         24                f. awardable interest at the maximum legal rate; and
                                         25                g. entry of an Order for further relief as the Court may deem just and
                                         26 proper.

                                         27 / / /

                                         28

                                                                                      13
                                                                                   COMPLAINT
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                                          1                            DEMAND FOR JURY TRIAL
                                          2        PURSUANT TO Rule 38(b) of the Federal Rules of Civil Procedure, the
                                          3 Plaintiff hereby demands a trial by jury on any and all issues triable to a jury.

                                          4

                                          5 Dated: December 23, 2021                 SCHNADER HARRISON SEGAL &
                                                                                     LEWIS LLP
                                          6
                                                                                     By:    /s/ Bruce B. Kelson
                                          7                                                BRUCE B. KELSON
                                          8                                          Attorneys for Plaintiff
                                                                                     UNIFY FINANCIAL FEDERAL
SCHNADER HARRISON SEGAL & LEWIS LLP




                                          9                                          CREDIT UNION
   650 CALIFORNIA STREE, SUITE 1900
    SAN FRANCISCO, CA 94108-2736




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                                                                                 COMPLAINT
